               Case 7:22-cr-00046-HL-TQL Document 8 Filed 01/17/23 Page 1 of 1

AO 458 (Rev. 06/09) Appearance of Counsel



                                        UNITED STATES DISTRICT COURT
                                                    for the         Filed at                                                 Z.-.'~i P M
                                                       Middle District of Georgia
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                                                                    )                               DEPUlY CLERK, U.S. DISTRICT COURT
                              Plaintiff                             )                                 MID~E DISTRICT OF GEORGIA       .
                                   v.                                                  7:22-Ctl- '16 f flt--J                 ·
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                             Defendant
                                                                    )
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                                                                          Case No.

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                                                   APPEARANCE OF COUNSEL

To:       The clerk of court and all parties ofrecord

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:




Date:
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